                                Case 2:18-cv-00040-JCM-VCF Document 2 Filed 01/09/18 Page 1 of 3



                      1    THORPE SHWER, P.C.
                           William L. Thorpe (Arizona Bar No. 005641), Pro Hac Vice motion to be filed
                      2    Tyler J. Grim (Arizona Bar No. 031300), Pro Hac Vice motion to be filed
                           3200 North Central Avenue, Suite 1560
                      3    Phoenix, Arizona 85012-2441
                           Telephone: (602) 682-6100
                      4    Email: docket@thorpeshwer.com
                           Email: wthorpe@thorpeshwer.com
                      5    Email: tgrim@thorpeshwer.com
                      6    MESSNER REEVES LLP
                           Renee Finch (Nevada Bar No. 13118)
                      7    8945 West Russell Road, Suite 300
                           Las Vegas, Nevada 89148
                      8    Telephone: (702) 363-5100
                           Facsimile: (702) 363-5101
                      9    Email: rfinch@messner.com
                     10    Attorneys for Defendants
                           J.B. Hunt Transport Inc. & Orlanda Johnson
                     11
THORPE SHWER, P.C.




                     12                                   UNITED STATES DISTRICT COURT
                     13                                         DISTRICT OF NEVADA
                     14    CRISTIAN GARCIA-CHAVEZ, an                        CASE NO. 2:18-cv-00040
                           individual,
                     15
                                                  Plaintiff,                 CERTIFICATION AS TO INTERESTED
                     16                                                      PARTIES FILED BY DEFENDANTS
                           v.
                     17
                           J.B. HUNT CORP., J.B. HUNT
                     18    TRANSPORT, INC., ORLANDA
                           JOHNSON, and DOES I through X; and
                     19    ROE CORPORATIONS II through XX,
                           inclusive,
                     20
                                                  Defendants.
                     21

                     22

                     23             TO THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                     24   NEVADA AND THEIR COUNSEL OF RECORD:
                     25             Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel of record for
                     26   Defendants J.B. Hunt Corp. and J.B. Hunt Transport, Inc., hereby certifies that to their knowledge, both
                     27   J.B. Hunt Corp. and J.B. Hunt Transport, Inc. are subsidiaries of J. B. Hunt Transport Services, Inc.
                     28   ///
                           {02663714 / 1}

                          9004294
                               Case 2:18-cv-00040-JCM-VCF Document 2 Filed 01/09/18 Page 2 of 3



                      1             There are no other known interested parties other than those identified.

                      2             DATED this 9th day of January, 2018.

                      3                                                        THORPE SHWER, P.C.
                      4
                                                                               By /s/ William L. Thorpe
                      5                                                           William L. Thorpe
                                                                                  Tyler J. Grim
                      6
                                                                               MESSNER REEVES LLP
                      7

                      8                                                        By /s/ William L. Thorpe
                                                                                  Renee M. Finch
                      9
                                                                                   Attorneys for Defendants
                     10                                                            J.B. Hunt Transport, Inc. & Orlanda Johnson
                     11
THORPE SHWER, P.C.




                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
                           {02663714 / 1}
                                                                           2
                          9004294
                               Case 2:18-cv-00040-JCM-VCF Document 2 Filed 01/09/18 Page 3 of 3



                      1                                     CERTIFICATE OF SERVICE
                      2             I hereby certify that I am an employee of MESSNER REEVES LLP, and that on this 9th of
                      3
                          January, 2018, I served and filed a true and correct copy of the foregoing CERTIFICATION AS TO
                      4
                          INTERESTED PARTIES FILED BY DEFENDANTS to all parties by the Court’s electronic service
                      5
                          system.
                      6

                      7
                          Jacob S. Smith
                      8   Breanna K. Hartmann
                          Henness & Haight, Injury Attorneys
                      9   8972 Spanish Ridge Avenue
                          Las Vegas, NV 89148
                     10   Attorneys for Plaintiff

                     11                                                    /s/ Bonnie O’Laughlin
                                                                           An Employee of MESSNER REEVES LLP
THORPE SHWER, P.C.




                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
                           {02663714 / 1}
                                                                      3
                          9004294
